






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00421-CV






Office of Public Utility Counsel, State of Texas, Gulf Coast Coalition of Cities,

and City of Houston, Appellants


v.


Public Utility Commission of Texas and Reliant

Energy Services, Appellees







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT

NO. GN203756, HONORABLE JOHN K. DIETZ, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



	The Office of Public Utility Counsel, the State of Texas, the Gulf Coast Coalition of
Cities, and the City of Houston appeal from the district court's judgment affirming the decision of
the Public Utility Commission in this ratemaking proceeding concerning the adjustment of the fuel-factor portion of the price-to-beat of Reliant Energy Services.  Appellants raise several issues that
we have discussed and resolved in favor of the district court's affirmance of the Commission's
decision in Cities of Alvin v. Public Utility Commission, No. 03-03-00386-CV (Tex. App.--Austin
Aug. 26, 2004).  There are some factual differences between that case and this one due to the
differences in the parties involved; for example, the ten-day market period measured differs, the
percentage increase in the fuel factor differs, and the appellant cities request different amounts of
expenses be reimbursed.  But the issues raised are essentially the same; indeed, some parties have
filed identical or nearly identical briefs in the two cases.  Accordingly, the discussions and
resolutions of the issues raised in Cities of Alvin apply to the issues raised in this appeal.

	We conclude that the appellants in this case have not shown error.  We affirm the
district court's affirmance of the Commission's decision.



					                                                                                    

					Mack Kidd, Justice

Before Justices Kidd, B. A. Smith and Pemberton

Affirmed

Filed:   August 26, 2004


